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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


PAUL CLEMENTS, et al.,

                 Plaintiffs,
                                                               CASE No. 1:18-cv-655
v.
                                                               HON. ROBERT J. JONKER
RUTH JOHNSON, et al.,

                 Defendants.

_______________________________/

     OPINION AND ORDER DENYING PLAINTIFFS’ MOTION FOR PRELIMINARY
                  INJUNCTION AND DECLARATORY RELIEF

                                         INTRODUCTION

          “All politics is local,” Tip O’Neill, a former Speaker of the United States House of

Representatives, is often quoted as saying.1 But what type of local—city or township? Plaintiff

Paul Clements says that confusion among voters signing his nominating petition left him nine

signatures short of getting his name on the ballot as a Democratic Party candidate for United

States Representative in Michigan’s 6th Congressional District. The potential for confusion did

not prevent four other Democratic candidates from qualifying for the ballot with the required

signatures. Mr. Clements asks this Court to intervene on an expedited and emergency basis to

require state election authorities to include his name on the ballot even though he failed to

qualify under state law. Mr. Clements has failed to make a convincing showing that the Court

should re-write state election rules in the middle of the game. Accordingly, Plaintiff’s motion

for preliminary relief is DENIED.

                           FACTUAL AND PROCEDURAL POSTURE

          1. Statutory Framework

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    John Bartlett, Bartlett's Familiar Quotations 789 (17th ed. 2002).
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   The parties agree on the statutory framework at issue. In Michigan, candidates for the

United States House of Representatives are nominated in primary elections held in the August

before the November general election. See MICH. COMP. LAWS §§ 168.132, 168.534. To appear

on the official primary ballot, a candidate must submit a nominating petition. MICH. COMP.

LAWS § 168.133. In this instance, Mr. Clements was required to file a petition containing at least

1,000 and no more than 2,000 signatures of qualified and registered electors with Michigan’s

Secretary of State. MICH. COMP. LAWS §§ 168.544f, 168.133.

   State law prescribes the different forms of permissible nominating petitions, including the

paper and font size as well as certain wording. Mr. Clements’ signatures were gathered on a

countywide form, and involved the interplay of both MICH. COMP. LAWS § 168.544c and § 544d.

Among other things, § 544d expressly requires that the countywide form “provide for

identification of the city or township in which the person signing the petition is registered.”

   The countywide form contains a heading stating “We, the undersigned, registered and

qualified voters of the County of . . .”, and then includes blanks for the candidate’s name,

address, party, office being sought, term end date, district, and date of the primary election. (See

ECF No. 11-2, PageID.608). The petition then has blank rows for signatures of electors. Next to

the signature, the elector must provide a printed name, street address, zip code, and date.

Finally, under the right hand column, the elector must “INDICATE CITY OR TOWNSHIP IN WHICH

REGISTERED TO VOTE.”      Space was provided for the name of that city or township. An elector

may also check one of two boxes to indicate whether the listed jurisdiction is a city or a

township. A sample of that portion of the nominating petition appears below:




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After obtaining the signatures with the required information, the petition circulator signs and

dates the petition.

        2. Mr. Clements’ Nominating Petitions

    Mr. Clements filed his nominating petitions with 1,346 signatures in April 2018. An initial

canvas was then conducted by the Bureau of Elections under MICH. COMP. LAWS § 168.552(8).

That review resulted in 198 of the 1,346 signatures being invalidated. In other words, after the

initial canvass Mr. Clements was still above the 1,000 signature threshold.

    According to Plaintiffs’ Amended Motion, on April 27, 2018, Andrew Davis, an individual

affiliated with a rival Democratic Party candidate’s campaign filed a challenge to a number of

signatures on Mr. Clements’ petitions. Some of these challenges alleged that certain signatures

on Mr. Clements’ nominating petition must be invalidated for checking the wrong jurisdictional

box.

    Mr. Clements filed a response to the challenge, and the Bureau of Elections reviewed the

challenges. Of course, an elector who provides the correct jurisdiction name, and correctly

identifies it as a city or township won’t be invalidated. Moreover, under MICH. COMP. LAWS

§ 168.552a(1), there is “a limited safe harbor for signers who write the names of jurisdictions

that could be either a city or township, yet fail to check either the city or township box, or who

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make a check in both boxes [because] [i]n both of these scenarios ‘the designation of city or

township has not been made’”. (ECF No. 8-5, PageID.514). There is no safe harbor, however,

for those electors who only check one box if that box turns out to be wrong. In this scenario, the

signature is invalidated.

       Based on these rules, the Bureau of Elections invalidated an additional 157 signatures.

Of these signatures, 102 were invalidated because the elector checked the wrong box in the

petition’s right hand column. The additional invalidations left Mr. Clements with only 991

qualifying signatures on his nomination petitions.     The Bureau then issued a staff report, as

required by Michigan election law, that recommended Mr. Clements’ nominating petition be

determined insufficient for the lack of at least 1,000 valid signatures. Mr. Clements submitted a

letter to the Board of State Canvassers challenging the statutory scheme as an unconstitutional

trap for the unwary. The Board of State Canvassers met on June 1, 2018, rejected Mr. Clements’

arguments, and voted unanimously to declare the petition insufficient. This means that Mr.

Clements’ name will not appear on the August 2018 primary ballot.

   The Director of Elections implemented this decision and certified the names of candidates

qualified to appear on the primary ballot. Defendants contend that ballots have already been

approved for printing, that the printing of ballots has already commenced, and that absentee

voter ballots have already been delivered to the local boards of county election commissioners

for distribution to those voters. Defendants say further that the August primary ballots must be

available for distribution to absentee voters no later than June 23, 2018, which is tomorrow.

                                     LEGAL STANDARD

   “[A] preliminary injunction is an extraordinary and drastic remedy, one that should not be

granted unless the movant, but a clear showing, carries the burden of persuasion.”              11A



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CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY KANE, FEDERAL PRACTICE AND

PROCEDURE § 2948 (3d ed. 2013); see also Winter v. Natural Resources Defense Council, Inc.,

555 U.S. 7, 22 (2008) (noting that a preliminary injunction is “an extraordinary remedy that may

only be awarded upon a clear showing that the plaintiff is entitled to such relief”). A court

addressing a motion for a preliminary injunction must consider four factors: (1) a likelihood of

success on the merits; (2) a likelihood of irreparable harm in the absence of preliminary relief;

(3) that the balance of equities favors the plaintiff; and (4) that the requested preliminary

injunction is in the public interest. Winter, 555 U.S. at 20.2 The Sixth Circuit has held “these are

factors to be balanced, not prerequisites to be met.” Southern Glazer’s Distributors of Ohio,

LLC v. Great Lakes Brewing Company, 860 F.3d 844, 849 (6th Cir. 2017). However, “the proof

required for the plaintiff to obtain a preliminary injunction is much more stringent than the proof

required to survive a summary judgment motion.” Leary v. Daeschner, 228 F.3d 729, 739 (6th

Cir. 2000).

         1. Likelihood of Success

         The first factor for the Court to weigh is whether Plaintiffs have demonstrated a

likelihood of success on the merits. A movant is not required to prove the case in full, but a

plaintiff must show “more than a mere possibility of success.”           Certified Restoration Dry

Cleaning Network, L.L.C. v. Tenke Corp., 511 F.3d 535, 543 (6th Cir. 2007) (quotations

omitted). The plaintiff must point to questions as to the merits that are “so serious, substantial,

difficult, and doubtful as to make them a fair ground for litigation[.]” Id. (quotations omitted).



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 In addition to addressing these four factors, Defendants argue the motion should be denied under
the doctrine of laches. Timing is always a fair consideration in the overall equitable mix of factors
on a preliminary injunction motion, but the Court does not find laches to be a standalone basis for
denying relief in this case.
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       The United States Constitution “accords special protection for the fundamental right of

voting.” Northeast Ohio Coalition for Homeless v. Husted, 696 F.3d 580, 591 (6th Cir. 2012).

Courts apply different standards of scrutiny depending on the burden of the right to vote. “While

a rational basis standard applies to state regulations that do not burden the fundamental right to

vote, strict scrutiny applies when a state’s restriction imposes ‘severe’ burdens.” Id. at 592.

“For the majority of cases falling between these two extremes” courts apply the “flexible” test

set out by the Supreme Court in Anderson v. Celebrezee, 460 U.S. 780 (1983) and Burdick v.

Takushi, 504 U.S. 428 (1992). Husted, 696 F.3d 580 at 592.

                Under the Anderson–Burdick test, the court must first consider the
                character and magnitude of the asserted injury to the rights
                protected by the First and Fourteenth Amendments that the
                plaintiff seeks to vindicate. Second, the court must identify and
                evaluate the precise interests put forward by the State as
                justifications for the burden imposed by its rule. Finally, it must
                determine the legitimacy and strength of each of those interests
                and ‘consider the extent to which those interests make it necessary
                to burden the plaintiff's rights.

Michigan State A. Phillip Randolph Institution v. Johnson, 833 F.3d 656, 662 (6th Cir. 2016)

(internal citations and quotation marks omitted).

       The Court finds Plaintiffs have not shown a likelihood of success under the Anderson-

Burdick test.     The burden on those electors signing a countywide nominating petition was

perhaps more than slight, but far from severe. The fact that four other Democratic candidates

were able to meet the 1,000 signature requirement with the same countywide petition

underscores this conclusion. Electors simply needed to provide basic information sufficient to

verify their residence and voter status in the relevant jurisdiction. The same geographical name

for both a city and a township certainly creates a risk of confusion, but most people know

whether they pay township or city taxes. And electors with any question have several options.



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They can call the Secretary of State or check the Secretary of State’s website to confirm

registration. They can simply ask the individual circulating the petition what to do in case of

doubt. Presumably a circulator motivated to help the candidate would be well-enough informed

to advise the elector to check no box, thus qualifying for the safe harbor, rather than guess wrong

and invalidate the signature.

       The Court finds the statutes are minimally burdensome, nondiscriminatory, and

reasonably calculated to advance legitimate regulatory interests.          Some basic identifying

information is needed to confirm the elector is qualified to sign. The jurisdictional designation

helps speed the process and avoid mistakes.           The statutory safe harbor diminishes this

administratively ease somewhat, but it is a permissible policy decision by the state legislature as

long as all candidates play by the same rules and no one class of candidates is systematically

favored or harmed. Moreover, by permitting the incomplete responses to count, the safe harbor

actually reduces the burden on those signing nominating petitions, rather than increases it. With

the statutory safe harbor in effect, only affirmatively erroneous responses are invalidated.

       The Court determines that Plaintiffs have not made a convincing showing of a probability

of success under Anderson–Burdick. Plaintiffs’ citation to Molinari v. Powers, 82 F. Supp.2d 57

(E.D.N.Y 2000) is not persuasive. The case did deal with a so-called “town / city trap” Id. at 71.

But there are critical distinctions. First of all, the parties in that case stipulated that the New

York statute imposed an undue burden.          Id.   The New York statute also operated in a

discriminatory way to help candidates favored by party leadership and to hurt insurgents.

Finally the “town / city trap” was only one of a series of requirements that operated together to

burden voters and to favor leadership-sponsored candidates. There is no such evidence here.

Accordingly, the Court finds that Plaintiffs cannot show a likelihood of success on the merits.



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       2. Likelihood of Irreparable Harm

   “[A] finding that there is simply no likelihood of success on the merits is usually fatal.”

Gonzalez v. Nat’l Bd. Of Medical Examiners, 225 F.3d 620, 625 (6th Cir. 2000). While the

Court has found there is no likelihood of success in this case, the Court will nevertheless proceed

to consider the remaining factors. Here, the likelihood of irreparable harm points in Plaintiffs’

favor but not in a dispositive way. It is true that without an injunction Mr. Clements name will

not be on the official primary ballot under the Democratic Party heading this August. And that

will hurt his chances of winning. But nothing stops Mr. Clements from competing for write-in

votes. And nothing prevents his supporters from voting for him as a write-in candidate. In a

five-way primary race, a write-in campaign is certainly a high hurdle, but not necessarily an

insurmountable one.

       3. Balance of Equities

       In order to obtain injunctive relief, Plaintiffs “must establish that . . . the balance of

equities tips in [their] favor[.]” Winter, 555 U.S. at 20. The balance here does not favor

Plaintiffs because they have not demonstrated a likelihood of success and Defendants have a

valid interest in the enforcement of statutes and regulations that assist the Bureau of Elections in

carrying out its duties. Moreover, there are other interests at play, including those of non-parties.

For example, four candidates for nomination as the Democratic Party candidate in Michigan’s

6th Congressional District did meet the state election requirements and qualify for the printed

ballot. They and their supporters followed the rules and have a legitimate expectation that a

judge won’t step in and change the rules now in favor of their competitor who did not follow the

rules. Furthermore, as both parties agree, “[t]iming is everything.” Crookston v. Johnson, 841

F.3d 396, 398 (6th Cir. 2016). While August is several weeks away, the hour is already late.



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Indeed, ballots have already been approved, and must be available for distribution as early as

tomorrow. An order in Plaintiff’s favor would require Defendants and non-parties alike to

hurriedly reprint ballots for approval and distribution to absentee voters. “[C[ourts will not

disrupt imminent elections absent a powerful reason for doing so.” Id. The Court does not see a

powerful reason here.

       4. Public Interest

       “[I[t is always in the public interest to prevent the violation of a party’s constitutional

rights.” Jones v. Caruso, 569 F.3d 258, 278 (6th Cir. 2009) (quotation marks and citation

omitted). “However, if the regulation in question is likely to be deemed constitutional, then

public interest will not be harmed by its enforcement.” Id. (quotations marks and citation

omitted). Thus the lack of a likelihood of success in this case means this factor weighs in

Defendants favor.    Furthermore the public has an interest in ensuring that the Bureau of

Elections may easily and speedily confirm the validity of signatures on nominating petitions, as

well as an interest in avoiding the time and expense that may occur from the reprinting of ballots

and the delay of sending out ballots to absent voters and, furthermore, in avoiding the confusion

that may result if corrected ballots must be sent out. Moreover, all candidates and voters have a

common interest in knowing that clear rules will be followed and enforced throughout the

contest and not changed by a court in the middle of the game. All this, again, weights against

emergency relief.

                                        CONCLUSION

       In just a few hours, the next steps in the 2018 primary season will begin in Michigan

when official primary ballots must be available for distribution to absentee voters.          Mr.

Clements’ name will not be on the printed ballot as a Democratic candidate because he did not



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follow the rules that four other Democrats did to qualify. This means Mr. Clements and his

supporters will have to rely on a write-in campaign this year, or choose to support one of the

other four Democratic candidates. That’s the inevitable result of reasonable statutory rules

enforced by a unanimous State Board of Canvassers and applied equally and fairly to all

contenders.

        Plaintiffs have failed to establish a basis for this Court to interfere with that in the middle

of the contest.

   ACCORDINGLY, IT IS ORDERED:

        1. Defendants’ Amended Motion for Leave to File Excess Pages (ECF No. 13) is

           GRANTED.

        2. Plaintiffs’ Motion for a Preliminary Injunction and Declaratory Relief is DENIED.

           Plaintiffs, of course, may continue their challenge to the Michigan statutes in the

           ordinary course of litigation.



Date:    June 22, 2018                      /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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